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the Court decide to reinstate court-appointed monitors, the former monitor (and her subject matter

experts) be removed and replaced with a monitor to be determined after the respective parties are

given leave to propose two names each.

        Dated: March 6, 2025.

                                                    Respectfully submitted,

                                                    PHELPS DUNBAR, LLP


                                               BY: /s/ Nicholas F. Morisani
                                                   W. Thomas Siler, Jr., MB #6791
                                                   Nicholas F. Morisani, MB #104970
                                                   Loden P. Walker, MB#105996
                                                   1905 Community Bank Way, Suite 200
                                                   Flowood, Mississippi 39232
                                                   Telephone: 601-352-2300
                                                   Facsimile: 601-360-9777
                                                   Email: Tommy.Siler@phelps.com
                                                          Nick.Morisani@phelps.com
                                                          Loden.Walker@phelps.com

                                               ATTORNEYS FOR DEFENDANTS




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